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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

RANDY FONTENOT AND                                                            CIVIL ACTION NO.
CHRISTI FONTENOT
                                                                              17-349-BAJ-EWD
VERSUS

AMERICAN BANKERS
INSURANCE COMPANY
OF FLORIDA

       MEMORANDUM IN SUPPORT OF MOTION TO COMPEL DISCOVERY

MAY IT PLEASE THE COURT

       American Bankers Insurance Company of Florida ("American Bankers") respectfully

moves to compel the plaintiffs, Randy Fontenot and Christi Fontenot, to answer the

Interrogatories and comply with the Requests for Production that American Bankers served on

October 10, 2017.1

                                                      I.

                                            PROCEEDINGS

       This is a property damage insurance claim, related to a rainstorm that occurred "on or

about" August 16, 2016.2 American Bankers issued a policy of insurance to Randy and Christi

Fontenot, with coverage for the manufactured home and contents located at 42358 Highway 931,

Gonzales, Louisiana 70737, according to the terms of the policy.3 American Bankers has already

paid $90,364.23 on plaintiffs' insurance claim related to the windstorm. Nevertheless, the

plaintiffs seek additional policy benefits for alleged (1) storm damage to the manufactured home,




1
       Exhibit A
2
       Rec. Doc. 1-1, Petition, pp. V.
3
       The Specialty Homeowners Program Policy is on file at Rec. Doc. 1-2.

                                                      1
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(2) contents losses, and (3) living expense.4 The plaintiffs also seek to recover for alleged bad

faith.5

          On October 10, 2017, American Bankers served written discovery requests on the

plaintiffs.6 The plaintiffs have not yet answered this discovery, despite American Bankers'

repeated requests. In the interest of resolving the plaintiffs' insurance claim, and in order to

move this litigation forward, American Bankers respectfully moves to compel.

                                                            II.

                                    CERTIFICATE OF CONFERENCE

          American Bankers has attempted to resolve the dispute without court action, as required

by Federal Rule of Civil Procedure 37(a)(1). Specifically, American Bankers contacted the

plaintiffs through counsel on December 1, 2017, to request the overdue discovery responses, and

scheduled a discovery conference.7 At the conference, counsel promised to respond in full by

December 12.8

          On December 13, 2017, the plaintiffs requested an additional extension.9 American

Bankers agreed, and granted the plaintiffs until December 15, 2017.10 As of this date, the

plaintiffs have not yet responded.

                                                           III.

                                            LAW AND ARGUMENT

          The plaintiffs have provided some limited documentation in support of their claim, as

discussed in American Bankers' motion for summary judgment.11 However, they have not yet

4
          Petition, pp. XXIV
5
          Petition, pp. XXIII, citing Louisiana Revised Statutes, R.S. 22:1892.
6
          Exhibit A
7
          Exhibit B -- email dated December 1, 2017.
8
          Exhibit B -- email dated December 5, 2017.
9
          Exhibit B -- email dated December 13, 2017.
10
          Id.

                                                            2
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provided their initial disclosures,12 nor have they answered American Bankers' discovery. Thus,

there remains substantial information that the plaintiffs have yet to provide.

        To review some details:

        (1)      Regarding contents, the plaintiffs have produced a contents list,13 and allowed

                 American Bankers to inspect some items. In the discovery, American Bankers

                 requests that the plaintiffs provide receipts and documentation, and advise for

                 each item, (1) the date of purchase, (2) the place of purchase (i.e., the vendor), (3)

                 the payment method (i.e., cash, check or charge), and (4) the original cost.

                 (Interrogatory no 12, RFP no. 8) American Bankers has also repeatedly requested

                 this information through the claim process -- see attached correspondence dated

                 June 20, 2017, and October 10, 2017.14 The plaintiffs have provided no

                 documentation and none of the requested information, other than the list itself.

        (2)      The plaintiffs have not provided any meaningful information regarding their

                 alleged additional living expenses. (Interrogatory no. 13, RFP no. 9) As

                 explained in the motion for summary judgment, if a covered loss makes the

                 insured premises uninhabitable, the insureds are covered for "reasonable

                 additional living expenses incurred in addition to your normal living expenses."15

                 This coverage part requires "paid receipts" as verification.16 The plaintiffs should

                 be compelled to make full disclosure, if they are continuing to contend that

                 American Bankers underpaid their claim.

11
        Rec. Docs. 11-2 (engineering report), 11-10 and 11-11 (contractor estimates), and 11-12 (contents list).
12
        Plaintiffs' Initial Disclosures were due on September 12, 2017. (Rec. Doc. 9). However, the court vacated
the scheduling order on November 3, 2017. Rec. Doc. 16.
13
        Rec. Doc. 11-12.
14
        Exhibits C and D.
15
        Memorandum in Support of Motion for Summary Judgment, Rec. Doc. 11-1, at pages 8-9.
16
        Id., citing to policy of insurance.

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       (3)        The plaintiffs have not made disclosure regarding temporary or permanent repairs

                  to the dwelling, or any steps they took after the incident to protect the dwelling

                  from further loss. (Interrogatory nos. 8 through 10, RFP nos. 3 through 5)

       (4)        The plaintiffs have not disclosed any individuals or contractors who made

                  repairs. (Interrogatory no. 11, RFP no. 6 and 7)

       The court may compel responses to discovery if a party fails to answer an interrogatory

submitted under Rule 33 or produce documents under Rule 34. Fed. R. Civ. P. 37(a)(3)(B)(iii)

and (iv). Based on the foregoing American Bankers respectfully moves to compel the plaintiffs

to fully and completely respond to its discovery requests.

       American Bankers also asks that the court award sanctions against plaintiffs for their

failure to make disclosures, including the attorney's fees incurred in preparing this motion to

compel. Federal Rule of Civil Procedure 37(a)(5)(A).

                                                   IV.

              LOCAL RULE 37, STATEMENT OF DISCOVERY REQUESTS

       In accordance with Local Rule 37, "Discovery Violations," the discovery requests at issue

are as follows:

       QUOTE

       INTERROGATORY NO. 1

             Please identify every person known, or reasonably felt by you, to have
       knowledge of, the facts and circumstances of the incident.

       [NO RESPONSE]

       INTERROGATORY NO. 2

              Please identify every person known, or reasonably thought by you, to be
       used as a witness at the trial of this case, whether expert or non-expert.



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[NO RESPONSE]

INTERROGATORY NO. 3

        In connection with the witnesses listed in the preceding two
Interrogatories, please state the substance or expected substance of the testimony
of each witness with particularity, along with any other relevant factual assertions
expected to be made by these witnesses.

[NO RESPONSE]

INTERROGATORY NO. 4

      Do you have either a copy or knowledge of any statement, oral or written,
made by you, the defendant, or any witness? If so please state all the following:

               a)      The identity of the person who made the statement;
               b)      The substance of the statement;
               c)      The date on which the statement was taken;
               d)      The identity of the person who took the statement;
               e)      Whether the statement was reduced to writing;
               f)      The present location of the statement and the identity of the
                       person now in possession of the statement.

[NO RESPONSE]

INTERROGATORY NO. 5

        Please identify all documents, things, and electronically stored information
in any way pertaining to or regarding the incident and/or the dwelling, and
identify all persons, companies, and organizations with knowledge of and/or
records pertaining to the same.

[NO RESPONSE]

INTERROGATORY NO. 6

        Please identify with particularity all damages and losses for which you
seek to recover, including policy benefits, compensatory damages, and statutory
penalties of any type. Please identify all documents in any way pertaining to or
regarding such damages and losses, and identify all persons, companies, and
organizations with knowledge of and/or records pertaining to the same.

[NO RESPONSE]

INTERROGATORY NO. 7

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        Do you contend that the defendant acted in bad faith and/or arbitrarily and
capriciously? If so, please provide all factual bases for this contention, identify
all witnesses with knowledge of the same, and identify all documents and
electronically stored information pertaining to or regarding the same.

[NO RESPONSE]

INTERROGATORY NO. 8

        Please describe all temporary and permanent repairs to the dwelling.
Please identify all witnesses with knowledge, and all receipts, invoices, checks,
and other documents and electronically stored information pertaining to or
regarding the same and the cost of said repairs.

[NO RESPONSE]

INTERROGATORY NO. 9

       Please identify, itemize and describe with particularity the cost of all
materials, labor, etc. to repair damage sustained to the insured dwelling.

[NO RESPONSE]

INTERROGATORY NO. 10

       Please describe all steps you took after the incident to protect the insured
dwelling from further loss.

[NO RESPONSE]

INTERROGATORY NO. 11

       Please identify any and all contractors, sub-contractors, repairmen, and
any other persons who performed or assisted in the performance of any repairs to
the dwelling and whether or not they provided any estimates or proposals, or
performed any repairs.

[NO RESPONSE]

INTERROGATORY NO. 12

        Please identify all personal property that you contend sustained damage in
the incident. Please describe each item by make, model, and serial number (if
available), and for each item provide (1) the date of purchase, (2) the place of
purchase (i.e., the vendor), (3) the payment method (i.e., cash, check or charge),

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(4) the original cost, (5) the current location of the item, and (6) describe any
repairs or alterations since the date of the windstorm alleged in suit. Please
identify all persons with knowledge, and identify all documents, things, and
electronically stored information pertaining to or regarding the same.

[NO RESPONSE]

INTERROGATORY NO. 13

       If you are seeking to recover additional living expenses, please identify all
witnesses with knowledge, and all documents and electronically stored
information pertaining to or regarding the same.

[NO RESPONSE]

INTERROGATORY NO. 14

        Please identify each person answering these Interrogatories, supplying
information, or assisting in any way with the preparation of the answers to these
Interrogatories.

[NO RESPONSE]

INTERROGATORY NO. 15

      Please identify all insurance policies pertaining to or regarding the
property, including but not limited to homeowners, flood, and/or fire.

[NO RESPONSE]

INTERROGATORY NO. 16

        Have you made any claims or demands, or filed any other lawsuits,
against anyone other than American Bankers? If so, please identify all claims,
lawsuits, and persons with knowledge, and all documents and electronically
stored information pertaining to or regarding the same.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 1

        Please produce all documents and electronically stored information
identified and/or requested to be identified in response to the Interrogatories
served on you herewith.

[NO RESPONSE]

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REQUEST FOR PRODUCTION NO. 2

        Please produce any and all documents and electronically stored
information pertaining to or regarding any damage to the dwelling, including
but not limited to all surveys, reports, damage estimates, repair estimates,
photographs, video recordings, digital recordings, correspondence, payments,
checks, invoices, etc. regarding anything damaged.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 3

       Please produce any and all documents and electronically stored
information pertaining to or regarding temporary and permanent repairs to the
dwelling, including but not limited to all receipts, invoices, checks, and other
documents pertaining to or regarding the same.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 4

        Please produce any and all documents and electronically stored
information pertaining to or regarding the cost of all materials, labor, etc. used
to repair damage to the insured dwelling.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 5

       Please produce any and all documents and electronically stored
information pertaining to or regarding any steps you took after the date of the
incident to protect the insured dwelling from further loss.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 6

        Please produce any and all documents and electronically stored
information pertaining to or regarding any and all contractors, sub-contractors,
repairmen, and any other persons who performed or assisted in the performance
of any repairs on the dwelling.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 7

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        Please produce any and all documents and electronically stored
information pertaining to or regarding any and all contractors, sub-contractors,
repairmen, and any other persons who you contacted or consulted in any way
regarding damage to or repairs of the insured dwelling, whether or not they
provided any estimates or proposals, or performed any repairs, including but not
limited to any estimates or proposals they prepared.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 8

        Please produce any and all documents and electronically stored
information pertaining to or regarding any personal property that you contend
sustained damage in the incident, including but not limited to all surveys, reports,
damage estimates, repair estimates, photographs, video recordings, digital
recordings, correspondence, payments, checks, invoices, etc. regarding anything
damaged.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 9

        Please produce any and all documents and electronically stored
information pertaining to or regarding any additional living expenses for which
you seek to recover, including but not limited to all leases, rental agreements,
receipts, checks, contracts, etc., regarding your expenses.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 10

       Please produce any and all documents and electronically stored
information pertaining to or regarding any insurance claims you have made to
recover losses for damages to the property, and all payments you have received.

[NO RESPONSE]


REQUEST FOR PRODUCTION NO. 11

       Please produce any and all documents and electronically stored
information pertaining to or regarding any alleged damages (of any sort
whatsoever) for which you seek to recover in this suit.

[NO RESPONSE]

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REQUEST FOR PRODUCTION NO. 12

      Please produce any and all witness statements in any way pertaining to or
regarding the incident and/or alleged damages you seek to recover in this suit,
whether verbal, written, oral, or recorded in some manner.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 13

       For each expert witness you intend to call at trial, please provide:

       a)      Their resume;
       b)      All reports or written opinions they provided;
       c)      All documents or things which i) you have provided to them
               and/or, ii) they have otherwise obtained and/or reviewed in
               evaluating the issues on which they opine;
       d)      All of their notes and working papers;
       e)      Any learned treatises or authorities on which they rely in any
               respect;
       f)      Any retainer agreements and other documents relating to or
               describing the expert’s compensation in this matter, and
       g)      Any invoices or fee statements rendered by the expert.


[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 14

       Please produce any and all documents and electronically stored
information pertaining to or regarding any and all civil law suits as to which
you have ever been a party, specifically including, but not limited to, settlement
agreements, releases, motions to dismiss, and related correspondence.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 15

       Please produce all contracts, retainer agreements, and other agreements
that you may have or had with public adjustors and/or other experts pertaining to
or regarding the property.

[NO RESPONSE]

REQUEST FOR PRODUCTION NO. 16

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              Please produce all documents pertaining to or regarding any application
       for government and private charity benefits including but not limited to the
       application itself and any grant or award letters you have received.

       [NO RESPONSE]

       REQUEST FOR PRODUCTION NO. 17

              Please produce copies of any and all photographs, videos or images of any
       anything pertaining to or regarding the incident alleged in suit, the insured
       property, all contents and component parts of the property, and/or anything else
       that was damaged in the windstorm.

       [NO RESPONSE]


                                                    Respectfully submitted,


                                                    /s/ Gordon P. Serou, Jr.
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                                                    Attorney for American Bankers
                                                    Insurance Company of Florida


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of January, 2017, a copy of the foregoing pleading
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing
will be sent to all counsel of record by operation of the court’s electronic filing system. Any
manual recipients will receive a copy of the foregoing pleading by United States Mail.


                                                    /s/ Gordon P. Serou, Jr.
                                                    GORDON P. SEROU, JR.




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